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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
 In re:                                                   )    Chapter 11
                                                          )
 FIRST GUARANTY MORTGAGE                                  )    Case No. 22-10584 (CTG)
                     1                                    )
 CORPORATION, et al.,
                                                          )    (Jointly Administered)
                             Debtors.                     )
                                                          )
                                                             Hearing Date: January 26, 2023 at 3:00 p.m. (ET)
                                                        Objection Deadline: January 11, 2023 at 4:00 p.m. (ET)

  NOTICE OF MOTION FOR ENTRY OF AN ORDER FURTHER EXTENDING THE
       DEADLINE WITHIN WHICH DEBTORS MAY REMOVE ACTIONS

          PLEASE TAKE NOTICE that on December 27, 2022, the above-captioned debtors and

debtors in possession (the “Debtors”) and Tanya Meerovich, as the Liquidating Trustee for the

FGMC Liquidating Trust (the “Trustee”) filed the Motion for Entry of an Order Further Extending

the Deadline Within Which Debtors May Remove Actions [Docket No. 476] (the “Motion”) with

the United States Bankruptcy Court for the District of Delaware (the “Court”).

          PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in

writing and filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,

824 Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the undersigned,

so as to be received on or before 4:00 p.m. (Eastern Time) on January 11, 2023.

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon counsel for the Debtors and the Liquidating Trustee: (i) Dentons

US LLP, 601 S. Figueroa, Suite 2500, Los Angeles, CA 90017, Attn: Samuel R. Maizel




1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The Debtors’
  mailing address is 5800 Tennyson Parkway, Suite 450, Plano, TX 75024.


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(samuel.maizel@dentons.com) and Tania M. Moyron (tania.moyron@dentons.com), and (ii)

Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705,

Wilmington, DE 19899-8705 (Courier 19801), Attn: Laura Davis Jones (ljones@pszjlaw.com).

        PLEASE TAKE FURTHER NOTICE THAT, IF AN OBJECTION IS PROPERLY

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, A HEARING

WILL BE HELD ON JANUARY 26, 2023 AT 3:00 P.M. (EASTERN TIME) BEFORE THE

HONORABLE CRAIG T. GOLBLATT, UNITED STATES BANKRUPTCY JUDGE FOR THE

DISTRICT OF DELAWARE, 824 MARKET STREET, COURT ROOM #7, THIRD FLOOR,

WILMINGTON, DELAWARE 19801.            ONLY OBJECTIONS MADE IN WRITING AND

TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH

HEARING.

        IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE RELIEF DEMANDED BY THE MOTION WITHOUT FURTHER NOTICE

OR HEARING.




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 Dated: December 27, 2022             PACHULSKI STANG ZIEHL & JONES LLP


                                       /s/ Mary F. Caloway
                                      Laura Davis Jones (DE Bar No. 2436))
                                      Timothy P. Cairns (DE Bar No. 4228)
                                      Mary F. Caloway (DE Bar No. 3059)
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                                      and

                                      DENTONS US LLP
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                                      Counsel for the Debtors and Debtors in Possession




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